  Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 1 of 50 PageID #:10390




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

MAUI JIM, INC., an Illinois Corporation    )
                                           ) Case No. 1:16-cv-09788
                 Plaintiff,                )
                                           ) District Judge Marvin E. Aspen
         v.                                ) Magistrate Judge Jeffrey T. Gilbert
                                           )
SMARTBUY GURU ENTERPRISES, a               )
Cayman Island Company, MOTION              )
GLOBAL LTD., a Hong Kong Company,          ) * PUBLIC VERSION *
SMARTBUYGLASSES SOCIETÁ A                  )
RESPONSABILITÁ       LIMITATA, an          )
Italian Company, SMARTBUYGLASSES           )
OPTICAL LIMITED, a Hong Kong               )
company,                                   )
                                           )
                 Defendants.               )



                  DEFENDANTS’ STATEMENT OF MATERIAL FACTS IN
                SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT

         Defendants SmartBuy Guru Enterprises, Motion Global Ltd., SmartBuyGlasses Società a

Responsabilità       Limitata,   and   SmartBuyGlasses    Optical    Limited       (collectively,

“SmartBuyGlasses”), submits this Statement of Material Facts in Support of their Motion for

Summary Judgment pursuant to Local Rule 56.1 of the United States District Court for the

Northern District of Illinois.




{8165961:10 }
     Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 2 of 50 PageID #:10391




                                                   TABLE OF CONTENTS

I.       INTRODUCTION .............................................................................................................. 1
         A. SmartBuyGlasses’ Background .................................................................................... 1
         B. Maui Jim Background ................................................................................................... 2
         C. SmartBuyGlasses’ Sells Authentic Maui Jim Sunglasses ............................................ 2
         D. Maui Jim Knows About and Supported SmartBuyGlasses Sales Of Its
            Products......................................................................................................................... 3
         E. Maui Jim Knows That SmartBuyGlasses Sells Authentic Maui Jim Glasses .............. 4
         F. Maui Jim Knows that SmartBuyGlasses’ Sales of Maui Jim Sunglasses Are
            Legal ............................................................................................................................. 8
         G. Maui Jim Knew About SmartBuyGlasses’ Sale of Maui Jim Sunglasses Since
            at Least 2008 and Took No Action ............................................................................. 10
II.                WAS SMARTBUYGLASSES’ PRIMARY SUPPLIER OF MAUI
         JIM PRODUCT ................................................................................................................ 11
         A.                     Background............................................................................................... 11
         B. Commencement Of Relationship With SmartBuyGlasses ......................................... 12
         C.                     Becomes A Maui Jim Authorized Retailer In 2011 ................................. 14
         D. Maui Jim Supports                                   Supply of Eyewear to SmartBuyGlasses................ 15
III.     SMARTBUYGLASSES’ SALES PROCESS .................................................................. 18
         A. The Customer Experience Through SmartBuyGlasses’ Website ............................... 18
         B. What SmartBuyGlasses’ Customers Receive ............................................................. 24
         C. SmartBuyGlasses Customers Who Purchase Maui Jim Take Time On The
            Website ....................................................................................................................... 26
IV.      THE OPTICAL INDUSTRY PRACTICE OF THIRD PARTY PRESCRIPTION
         LENSES ............................................................................................................................ 26
V.       THE GRAY MARKET..................................................................................................... 30
VI.      MAUI JIM’S TEST PURCHASES .................................................................................. 33
VII.     MAUI JIM’S CUSTOMER SERVICE ............................................................................ 34
VIII.    MAUI JIM’S POLICIES AND PROCEDURES .............................................................. 36
IX.      MAUI JIM LIED ABOUT SMARTBUYGLASSES ....................................................... 39
X.       MAUI JIM’S TORTIOUS INTERFERENCE CLAIM.................................................... 40
XI.      MAUI JIM’S COPYRIGHT COMPLAINT..................................................................... 41
XII.     MAUI JIM’S COUNTERFEIT THEORY ....................................................................... 42
XIII.    SMARTBUYGLASSES PROVIDES SALES FOR MAUI JIM THAT IT MIGHT
         NOT OTHERWISE HAVE HAD .................................................................................... 42
XIV. SMARTBUYGLASSES INVESTS IN MAUI JIM ......................................................... 43


{8165961:10 }                                                         ii
    Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 3 of 50 PageID #:10392




                                        TABLE OF EXHIBITS

No.                    Label                                   Description
                Declaration of Doron
1                                       Aug. 1, 2019
                      Kalinko
                Declaration of
2                                       July 29, 2019

3        Deposition of Paul Lippens     Feb. 15, 2019
           Deposition of David
4                                       Jan. 18, 2019
                  Menning

5           Deposition of Jay Black     Dec. 13, 2018

                Deposition of Michael
6                                       Feb. 14, 2019
                       Dalton

7         Deposition of Hans Penzek     Nov. 15, 2018

                 Deposition of Chris
8                                       Dec. 11, 2018
                     McClain
                 Deposition of Dave
9                                       Dec. 14, 2018
                     Siragusa
                Deposition of Daniel
10                                      Jan. 17, 2019; Jan. 18, 2019; April 9, 2019
                     Rossetto
                Deposition of Doron
11                                      Jan. 20, 2019; Jan. 21, 2019; Jan. 23, 2019; April 9, 2019
                     Kalinko

12       Deposition of King Cheung Jan. 24, 2019
                                        Internal Maui Jim email from Hans Penzek dated Feb. 5,
13                  MJ00004339
                                        2012
                                        Internal Maui Jim email from Hans Penzek dated Feb. 25,
14                  MJ00004454
                                        2012
                                        Internal Maui Jim email string including email from Hans
15                  MJ00004470
                                        Penzek dated Sept. 8, 2013
16                  MJ00004466          Internal Maui Jim email dated Dec. 4, 2013
                                        Internal Maui Jim email from Chris McClain dated Aug. 4,
17                  MJ00004759
                                        2013
                 Deposition of Harry
18                                      Feb. 13, 2019
                      Rhodes
19                 MJ00016702           Internal Maui Jim email dated Jan. 31, 2018
                                        Internal Maui Jim email from Harry Rhodes dated Oct. 11,
20                  MJ00002343
                                        2016
21                  MJ00014716          Internal Maui Jim email dated April 30, 2015


{8165961:10 }                                     iii
  Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 4 of 50 PageID #:10393




No.                    Label                                   Description
                                       Internal Maui Jim email between Chris McClain and a
22                 MJ00004523          Dept. of Homeland Security representative, dated July 23,
                                       2014
                                       Internal Maui Jim email between Lynn Campen and Chris
23                 MJ00004611
                                       McClain, dated Oct. 10, 2013
                                       Internal Maui Jim email between Lynn Campen and Chris
24                 MJ00004659
                                       McClain, dated Oct. 26, 2013
25                 MJ00001819          Maui Jim customer service email dated Dec. 13, 2016
26                 MJ00003781          Maui Jim customer service chat dated April 26, 2017
27                 MJ00016421          Maui Jim customer service chat dated Sept. 26, 2018
28                 MJ00016392          Maui Jim customer service chat dated July 22, 2018
29                 MJ00003783          Maui Jim customer service chat dated Jan. 16, 2016
30                 MJ00003746          Maui Jim customer service chat dated June 7, 2017
                                       Internal Maui Jim email from Hans Penzek, dated Aug. 2,
31               MJ-INT00000067
                                       2011
                                       Email from Daniel Rossetto to                    , dated May
32                 SBG0747378
                                       15, 2018
33                 SBG0747200          Letter from                   to SmartBuyGlasses
                                       Email from                     to Daniel Rossetto, dated June
34                 SBG0747190
                                       20, 2018
35                 SBG0747410          Letter from                to SmartBuyGlasses
36                 SBG0747411          Letter from                        to SmartBuyGlasses
37                 SBG0747418          Letter from the                   to SmartBuyGlasses
38                 SBG0747413          Letter from                  to SmartBuyGlasses
                                       Email from                                         to Daniel
39                 SBG0747085
                                       Rossetto, dated May 17, 2018
                                       Internal Maui Jim email from Hans Penzek, dated July 27,
40               MJ-INT00000074
                                       2012
                                       Internal Maui Jim email from Hans Penzek, dated April 2,
41                 MJ00014116
                                       2014
                                       Email between Dave Siragusa and              representatives,
42                 MJ00014946
                                       dated Dec. 20, 2015
                                       Email between David Menning and a Maui Jim
43                 SBG0002368
                                       representative, dated Sept. 25, 2008
                                       Email between Harry Rhodes and Michael Dalton, dated
44                 MJ00013666
                                       Sept. 21, 2011
45                 MJ00004341          Internal Maui Jim email dated Oct. 6, 2011
                Deposition of Andrea
46                                     Nov. 16, 2018
                     Salmaso
                                       Internal Maui Jim email from Hans Penzek, dated Oct. 26,
47               MJ-INT00000006
                                       2011
48                 SBG0001866          SmartBuyGlasses’ Supplier List



{8165961:10 }                                    iv
  Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 5 of 50 PageID #:10394




 No.                   Label                                    Description
49              Rossetto Exhibit 103    Updated SmartBuyGlasses Supplier List
                                        Email between Daniel Rossetto and
50                  SBG0711943
                                        dated July 22, 2015
                                        Internal SmartBuyGlasses email from Daniel Rossetto,
51                  SBG0746980
                                        dated Oct. 12, 2015
                                        Email from                  to Andrea Salmaso, dated April
52               MJ-INT00000053
                                        4, 2017
                                        Spreadsheet detailing SmartBuyGlasses’ revenue and
                Buffo Rebuttal Report
53                                      expenses related to sales of Maui Jim sunglasses between
                      Exhibit C
                                        2009 and 2019
                                        SmartBuyGlasses website screenshot taken at Doron
54              Kalinko Exhibit 100
                                        Kalinko’s deposition
                                        SmartBuyGlasses website screenshot taken at Doron
55               Kalinko Exhibit 91
                                        Kalinko’s deposition
                                        SmartBuyGlasses website screenshot taken at Doron
56               Kalinko Exhibit 92
                                        Kalinko’s deposition
                                        SmartBuyGlasses website screenshot taken at Doron
57               Kalinko Exhibit 93
                                        Kalinko’s deposition
                                        SmartBuyGlasses website screenshot taken at Doron
58               Kalinko Exhibit 90
                                        Kalinko’s deposition
                                        Description of a test purchase of Maui Jim sunglasses made
59                  MJ00000865
                                        from SmartBuyGlasses’ website
60                  MJ00017074          Screenshot of SmartBuyGlasses’ website
61                 Black Exhibit 6
                                        List of Maui Jim authorized retailers who have violated
62                  MJ00002592          Maui Jim’s policy against glazing third party lenses into
                                        Maui Jim frames
                                        List of Maui Jim authorized retailers who have violated
63                  MJ00019021          Maui Jim’s policy against glazing third party lenses into
                                        Maui Jim frames
                                        List of Maui Jim authorized retailers who have violated
64                  MJ00019015          Maui Jim’s policy against glazing third party lenses into
                                        Maui Jim frames
                                        List of Maui Jim authorized retailers who have violated
65                  MJ00019023          Maui Jim’s policy against glazing third party lenses into
                                        Maui Jim frames
                                        List of Maui Jim authorized retailers who have violated
66                  MJ00019142          Maui Jim’s policy against glazing third party lenses into
                                        Maui Jim frames
                                        Internal Maui Jim email from Harry Rhodes, dated Sept.
67                  MJ00002379
                                        13, 2013
                                        List of Maui Jim authorized retailers who have violated
68                  MJ00002139          Maui Jim’s policy against glazing third party lenses into
                                        Maui Jim frames


{8165961:10 }                                     v
  Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 6 of 50 PageID #:10395




No.                   Label                                   Description
69               Caniglia Report       Expert Report of Richard Caniglia

70                MJ00002631           Internal Maui Jim email dated Sept. 12, 2016
71                MJ00002828           Internal Maui Jim email dated Oct. 16, 2016
                                       Email from Maui Jim authorized retailer to Hans Penzek,
72              MJ-INT00000652
                                       dated June 6, 2018
73                MJ00002588           Internal Maui Jim email dated Jan. 8, 2018
                Deposition of Lynn
74                                     Dec. 12, 2018
                    Campen
                                       Email from                        to Doron Kalinko, dated
75                SBG0647526
                                       April 12, 2017
76              Rhodes Exhibit 19      Website screenshot taken Feb. 12, 2019
                                       Maui Jim-               authorized retailer agreement dated
77                MJ00004293
                                       Sept. 2011 (Italian language)
                                       Maui Jim-               authorized retailer agreement dated
78                MJ00004311
                                       Jan. 2017 (Italian language)
                                       Maui Jim-               authorized retailer agreement dated
79              Salmaso Exhibit 4
                                       Jan. 2017 (English language translation)
                                       Standards for Maui Jim Retail Distributors (Italian
80                MJ00016295
                                       language)
                                       Standards for Maui Jim Retail Distributors (English
81              Salmaso Exhibit 6
                                       language translation)
                                       Internal Maui Jim email from Dave Siragusa, dated June 5,
82                MJ00014992
                                       2015
83                MJ00015681           Internal Maui Jim email dated July 29, 2014
84                MJ00004367           Internal Maui Jim email dated April 16, 2015
85                MJ00004723           Internal Maui Jim email dated Dec. 16, 2013
86                MJ00002247           Internal Maui Jim email dated Dec. 16, 2013
                                       Email from Harry Rhodes to Michael Dalton dated Dec.
87                MJ00013653
                                       26, 2011
                                       Email from a              representative to Dave Siragusa,
88                MJ00013907
                                       dated May 23, 2014
                                       Email from a              representative to Dave Siragusa,
89                MJ00013855
                                       dated June 19, 2014
         Deposition of Christopher
90       Reilly, Market Track’s Rule   April 19, 2019
              30(b)(6) Designee
91              Lippens Exhibit 2      Chart produced at the deposition of Paul Lippens
                                       Email from a Maui Jim customer to Maui Jim customer
92                MJ00001881
                                       service, dated Dec. 21, 2016
                                       Email from a Maui Jim customer to Maui Jim customer
93                MJ00001878
                                       service, dated Aug. 5, 2016


{8165961:10 }                                   vi
  Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 7 of 50 PageID #:10396




 No.                Label                                       Description
94                MJ00000651           Maui Jim’s warranty, various languages
95                MJ00000656           Maui Jim’s warranty, English language
96                MJ00015001           Maui Jim’s U.S. General Policies, dated Dec. 2013
                                       Internal Maui Jim email from Lynn Campen to a customer
97                MJ00003034
                                       service representative, dated Dec. 4, 2015
                                       Email from a Maui Jim customer service representative to a
98                MJ00015741
                                       Maui Jim customer, dated Aug. 17, 2016
                                       Internal Maui Jim email from a Maui Jim customer service
99                MJ00016126           team lead to a customer service representative, dated Dec.
                                       7, 2017
100               MJ00016121           Maui Jim customer service chat dated Dec. 7, 2017
101               MJ00003745           Maui Jim customer service chat dated June 3, 2017
102               MJ00003786           Maui Jim customer service chat dated May 2, 2017
103               MJ00003779           Maui Jim customer service chat dated Dec. 6, 2017
104               MJ00003747           Maui Jim customer service chat dated June 7, 2017
105               MJ00001927           Maui Jim customer service email dated March 8, 2017
106               MJ00001871           Maui Jim customer service chat dated Nov. 29, 2017
107               MJ00015728           Maui Jim customer service chat dated Dec. 4, 2017
108               MJ00016167           Maui Jim customer service chat dated Sept. 6, 2016
109               MJ00016171           Maui Jim customer service email dated Aug. 30, 2016
110               MJ00016356           Maui Jim customer service chat dated April 25, 2018
111                 Unused             N/A
                                       Internal Maui Jim email from Dave Siragusa, dated Dec. 1,
112               MJ00015140
                                       2014
                                       Internal Maui Jim email from Dave Siragusa, dated Jan. 29,
113               MJ00015197
                                       2016
114               MJ00014590           Internal Maui Jim email dated April 12, 2016
115               MJ00016372           Maui Jim customer service chat dated June 10, 2018
116               MJ00016383           Maui Jim customer service chat dated July 7, 2018
117               MJ00016385           Maui Jim customer service chat dated July 10, 2018
                                       Maui Jim-              authorized retailer agreement dated
118             Salmaso Exhibit 2
                                       Sept. 2011 (English language translation)
           Declaration of Stephen J.
119                                    Aug. 1, 2019
                  Rosenfeld




{8165961:10 }                                   vii
  Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 8 of 50 PageID #:10397




                                        I. INTRODUCTION

A.       SmartBuyGlasses’ Background

         1.        SmartBuyGlasses is a leading online retailer of designer eyewear and is highly

respected within the optical industry, selling more than 180 brands through its websites.

(Declaration of Doron Kalinko at ¶ 1, attached hereto as Exhibit 1; Declaration of

                at ¶ 36, attached hereto as Exhibit 2.) The group has also operated physical retail

outlets in Asia and Australia. (Ex. 1 at ¶ 1.) SmartBuyGlasses works directly with the eyewear

industry’s leading players (including Luxottica, the world’s largest eyewear company) and has

relationships with top industry brands including Ray-Ban, Oakley, Prada, Gucci, YSL, Bvlgari,

Versace, Nike, Burberry, and Michael Kors, among others that make up the vast majority of its

total sales. (Id. at ¶ 3; see also Deposition of Paul Lippens, attached hereto as Exhibit 3, 187:12-

18.) SmartBuyGlasses sources products through its trusted network of suppliers, including

directly from brand manufacturers, distributors and authorized retailers. (Ex. 1 at ¶ 3.)

         2.        For more than 10 years, SmartBuyGlasses has been a key pioneer in the

development of online sales in the optical industry, working with manufacturers, local opticians,

and top technology innovators to provide virtual frame try-on, eye-test appointments with local

opticians, and smartphone prescription lens scanning, all while passing on huge savings to its

customers. (Id. at ¶ 2.) SmartBuyGlasses is also socially driven, working with top global NGOs,

and providing over 85,000 free prescription glasses to extremely poor communities around the

world. (Id.)

         3.        SmartBuyGlasses was founded in 2006 by three Australian citizens, David

Menning, Tony Zhuang and Doron Kalinko. (Deposition of David Menning, attached hereto as

Exhibit 4, 10:18-20.) Messrs. Menning and Kalinko are co-Chief Executive Officers of Motion

Global. (Id. at 9:18-21.) Mr. Zhuang is its Chief Technology Officer. (Id. at 9:22-10:8.)


{8165961:10 }                                      1
  Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 9 of 50 PageID #:10398




B.       Maui Jim Background

         4.     Maui Jim designs and manufactures sunglasses. (Second Am. Compl., ECF No.

257, ¶ 16.) It has approximately a          market share of the         sunglass market and has

sold its eyewear through more than             authorized retailers in the United States alone,

including Target, Sunglass Hut, Costco, Dick’s Sporting Goods, Bass Pro Shops, and REI.

(Deposition of Jay Black, attached hereto as Exhibit 5, 99:18-100:7, 101:6-9, 105:4-10;

Deposition of Michael Dalton, attached hereto as Exhibit 6, 107:24-108:14.) Maui Jim has

European distribution centers and          authorized retailers in Europe. (Deposition of Hans

Penzek, attached hereto as Exhibit 7, 16:21-17:3; 19:9-12.)

C.       SmartBuyGlasses’ Sells Authentic Maui Jim Sunglasses

         5.     SmartBuyGlasses prides itself on supplying authentic, genuine eyewear from

leading designers, including Maui Jim. (Ex. 1 at ¶ 4.) Every pair of Maui Jim sunglasses

SmartBuyGlasses sells is authentic and manufactured by Maui Jim. (Deposition of Chris

McClain, attached hereto as Exhibit 8, 11:12-12:4; 17:14-18:1; 19:17-20:11; 22:1-14; 125:1-4;

Deposition of Dave Siragusa, attached hereto as Exhibit 9, 51:5-52:23; 53:2-56:23; Deposition

of Daniel Rossetto, attached hereto as Exhibit 10, 249:13-20; Deposition of Doron Kalinko,

attached hereto as Exhibit 11, 66:13-14; 278:14-16; 395:9-20; 589:22-590:20.)

         6.     SmartBuyGlasses sold approximately            pairs of Maui Jim sunglasses into

the United States between 2009 and 2019. (See “12a. MJ Sales Summary 2019”, attached hereto

as Exhibit A to Ex. 1.) More than       of those sunglasses were “plano” (i.e., non-prescription)

sunglasses. (Id.) For those sales, SmartBuyGlasses’ customers received the original Maui Jim

sunglasses in the original packaging as they came from Maui Jim’s authorized retailers.

(Deposition of King Cheung, attached hereto as Exhibit 12, 46:1-18; 47:21-48:23; 53:10-54:8.)




{8165961:10 }                                  2
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 10 of 50 PageID #:10399




The remaining                                   were Maui Jim sunglasses with a third-party

prescription add-on lens glazed into the Maui Jim frame. (Ex. 1 at ¶ 5; Ex. 1, Ex. A.) For those

sales, SmartBuyGlasses’ customers received the original Maui Jim packaging, the original Maui

Jim frames with the third-party prescription add-on lens glazed into the frame, and the original

Maui Jim plano lenses in a separate envelope. (Id.; see also Ex. 9, 61:12-62:16.)

         7.     Maui Jim admits that it has never identified a single pair of Maui Jim sunglasses

SmartBuyGlasses sold that Maui Jim did not manufacture.




(Ex. 8, 19:17-20:1.) And, because all of the Maui Jim sunglasses SmartBuyGlasses sold to

consumers were originally sourced from Maui Jim, Maui Jim financially benefited from all of

the Maui Jim sunglasses SmartBuyGlasses sold. (Ex. 1 at ¶ 6.)

D.       Maui Jim Knows About and Supported SmartBuyGlasses Sales Of Its Products

         8.     Maui Jim knew about and directly supported SmartBuyGlasses’ procurement of

Maui Jim sunglasses through its         sales organization. (Ex. 11, 90:23-91:3; Ex. 10, 284:5-11;

288:6-290:8.) SmartBuyGlasses sourced

                                                                                    (Ex. 1 at ¶ 7;




{8165961:10 }                                   3
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 11 of 50 PageID #:10400




SBGSUPP000001, attached hereto as Exhibit B to Ex. 1.)

                                                                                              (Ex. 7,

84:8-14.)                   was an authorized retailer of Maui Jim sunglasses from 2011 to 2018. (Ex.

2 at ¶ 48.)

         9.        Between 2011 and 2018,                         – a Maui Jim sales representative –

facilitated the supply of Maui Jim sunglasses to SmartBuyGlasses through

                knew that                 was reselling the sunglasses to SmartBuyGlasses. (Ex. 11,

90:23-91:3; Ex. 10, 284:5-11; 288:6-290:8; Ex. 2 at ¶¶ 39-50.) Moreover,



                               assisted             in obtaining a significant volume of Maui Jim

sunglasses, with full understanding that those sunglasses were to be sold online by

SmartBuyGlasses. (Ex. 2 at ¶¶ 46-49.) Indeed,                           sold Maui Jim eyewear to

SmartBuyGlasses with the full knowledge and support of Maui Jim’s                 operation for more

than seven years. (Ex. 2 at ¶¶ 37-51.)

E.       Maui Jim Knows That SmartBuyGlasses Sells Authentic Maui Jim Glasses

         10.       Maui Jim knows that the Maui Jim sunglasses SmartBuyGlasses sells are

authentic because, among other things,

                                                                                    . (Ex. 7, 98:3-21;

28:4-10; MJ00004339, attached hereto as Exhibit 13; Ex. 7, 110:20-115:19; Ex. 6, 20:4-25:1;

Ex. 8, 30:16-33:21; MJ00004454, attached hereto as Exhibit 14; Ex. 7, 116:20-118:21; Ex. 8,

101:1-106:22; MJ00004470, attached hereto as Exhibit 15; Ex. 7, 125:9-129:11; MJ00004466,

attached hereto as Exhibit 16; Ex. 8, 107:9-111:7; MJ00004759, attached hereto as Exhibit 17;

Deposition of Harry Rhodes, attached hereto as Exhibit 18, 115:1-118:17; Ex. 8, 25:9-29:20,




{8165961:10 }                                        4
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 12 of 50 PageID #:10401




MJ00016702, attached hereto as Exhibit 19; Ex. 3, 144:15-145:5; Ex. 8, 104:8-13.) Maui Jim

has no evidence that SmartBuyGlasses procured the Maui Jim sunglasses it sells on its website

through any means other than Maui Jim’s own authorized retailers. (Ex. 8, 21:11-15; 22:1-14;

110:6-10.)



                                                          Numerous Maui Jim authorized retailers

have complained that                                                                             .

(MJ00002343, attached hereto as Exhibit 20; Ex. 13, 119:2-122:7; MJ00014716, attached hereto

as Exhibit 21.)

         11.    Although Maui Jim claimed

                                                                    (Ex. 8, 11:22-12:1) Maui Jim

testified that it did

                  (Ex. 5, 52:17-53:2; Ex. 9, 45:12-18.)

         12.    Hans Penzek, Maui Jim’s Vice President for Europe, testified that



                                                (Ex. 7, 99:3-10.) Nor does Maui Jim contend that

SmartBuyGlasses was selling stolen or damaged merchandise. (Ex. 5, 65:16-21, 68:1-7.) To the

contrary, Mr. Penzek and Mr. Lippens both admitted (like Mr. Rhodes did) that



                                                                                    (Ex. 7 127:91-

128:4; Ex. 3, 156:16-157:1; Ex. 8, 12:21-13:2; Ex. 18, 117:7-15.)

         13.    Since 2011, Maui Jim has conducted numerous test purchases from

SmartBuyGlasses. (Ex. 8, 116:6-14.)




{8165961:10 }                                    5
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 13 of 50 PageID #:10402




         14.    Maui Jim admits that



           :




         15.    Mr. Penzek confirmed that all of the plano Maui Jim sunglasses he received from

the test purchases were                                                  :




(Ex. 7, 22:11-18.)



{8165961:10 }                                  6
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 14 of 50 PageID #:10403




(Ex. 7, 23:4-12; see also 100:18-101:9)




(Ex. 7, 25:12-16.)

         16.    Mr. Penzek also admitted that the test orders Maui Jim made that included the

SmartBuyGlasses prescription add-on lenses (out of the     total pairs sold with such an add-on)

                                                         . (Ex. 7, 91:2-18; MJ-INT00000067,

attached hereto as Exhibit 31; Ex. 7, 89:8-92:12.)




{8165961:10 }                                   7
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 15 of 50 PageID #:10404




          17.   Mr. Lippens on behalf of Maui Jim also testified consistently that

                                                                                     . (Ex. 3,

137:8-12.)

          18.   Moreover, SmartBuyGlasses’ suppliers have submitted letters attesting to the

authenticity of the Maui Jim branded products they supplied to SmartBuyGlasses. (Ex. 11,

682:2-12; Ex. 10 396:6-397:7; 397:13-398:6; 404:15-23; SBG0747378, attached hereto as

Exhibit 32; Ex. 10, 399:4-9; SBG0747200, attached hereto as Exhibit 33; Ex. 10, 417:22-419:9;

SBG0747190, attached hereto as Exhibit 34; Ex. 10, 420:15-421:10; SBG0747410, attached

hereto as Exhibit 35; Ex. 10, 491:6-492:17; SBG0747411, attached hereto as Exhibit 36; Ex. 10,

493:17-495:4; SBG0747418, attached hereto as Exhibit 37; Ex. 10, 514:1-24; SBG0747413,

attached hereto as Exhibit 38; SBG0747085, attached hereto as Exhibit 39; Ex. 10, 532:11-

535:4.)

F.        Maui Jim Knows that SmartBuyGlasses’ Sales of Maui Jim Sunglasses Are Legal

          19.   Senior Maui Jim employees have admitted for years that




                                               . (Ex. 13; Ex. 7, 110:20-113:4; Ex. 14; Ex. 7,

116:20-118:21; Ex. 8, 101:1-106:22; MJ-INT00000074, attached hereto as Exhibit 40; Ex. 7,

68:2-70:6; 27:16-24; 28:4-10; 116:3-8; 117:21-118:1; 129:23-130:16; 140:23-141:15; 222:3-

223:14.)




{8165961:10 }                                 8
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 16 of 50 PageID #:10405




         21.    Critically,

                                                                                          .

(Ex. 7, 116:13-17; 118:8-14; 118:22-119:2; 132:9-13; Ex. 15; Ex. 7, 125:9-129:11; 135:7-18;

136:5-17; 137:1-14; 137:25-138:5; 141:1-22; 142:11-14.)




{8165961:10 }                                 9
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 17 of 50 PageID #:10406




         22.    To the contrary, other Maui Jim employees echoed Mr. Penzek’s position.




(MJ00014946, attached hereto as Exhibit 42; Ex. 9, 91:15-95:17.) Maui Jim’s representatives

admit that a customer may



                                     (Ex. 9, 100:12-101:5.)

G.       Maui Jim Knew About SmartBuyGlasses’ Sale of Maui Jim Sunglasses Since at
         Least 2008 and Took No Action

         23.    Maui Jim knew that SmartBuyGlasses was selling Maui Jim sunglasses online

since at least 2008 but took no legal action against SmartBuyGlasses until the filing of the

underlying Complaint in October 2016. (SBG0002368, attached hereto as Exhibit 43; Ex. 4,

32:3-33:17; Ex. 18, 91:12-97:1; Ex. 5, 26:5-16; 137:2-16.) In September 2008, Michelle

Munson, a Maui Jim representative, emailed SmartBuyGlasses’ customer service account stating




                                                              (Ex. 43; Ex. 4, 32:3-33:17.)

         24.    Maui Jim’s most senior executives have also known that SmartBuyGlasses was

selling Maui Jim sunglasses online since at least 2011. (MJ00013666, attached hereto as Exhibit

44; Ex. 7, 102:22-103:9; MJ00004341, attached hereto as Exhibit 45; Deposition of Andrea

Salmaso, attached hereto as Exhibit 46, 25:5-18; MJ-INT00000006, attached hereto as Exhibit

47; Ex. 7, 103:12-106:1; Ex. 8, 24:8-11; Ex. 3, 72:21-73:2; Ex. 6, 9:9-13.)



{8165961:10 }                                  10
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 18 of 50 PageID #:10407




                II.              WAS SMARTBUYGLASSES’ PRIMARY
                            SUPPLIER OF MAUI JIM PRODUCT

A.                    Background




{8165961:10 }                           11
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 19 of 50 PageID #:10408




         28.    No matter what the sector,            prides itself on maintaining: (i) a strong

attitude for customer service; (ii) the latest technology to provide its customers a uniquely

superior experience; (iii) strong relationships with major industry players; (iv) the top brands

from which its customers can choose; (v) local partnerships from which it can give back to the

communities that it serves; and (vi) an unwavering promise to provide the best merchandise and

service for its customers. (Id. at ¶ 23.)




{8165961:10 }                                 12
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 20 of 50 PageID #:10409




B.       Commencement Of Relationship With SmartBuyGlasses




         30.     By 2011,              was selling SmartBuyGlasses eyewear from more than

brands. (Ex. 2 at ¶ 27.) All of the eyewear             sold SmartBuyGlasses was 100% genuine

and authentic, which               guaranteed through its trusted supply channels developed over

the years. (Id.) In fact, every single pair of Maui Jim sunglasses that             distributed to

SmartBuyGlasses were manufactured by Maui Jim, were in their original condition, were in their

original packaging, and contained original Maui Jim accessories and product literature. (Id. at ¶

48.) By 2013, annual volume of sales from                    to SmartBuyGlasses was more than

                , with the companies entering into a special key-partner program with Luxottica to

increase delivery speed to SmartBuyGlasses’ customers. (Id. at ¶ 28.) In 2015,

expanded the products it distributed to SmartBuyGlasses to include ophthalmic eyewear and

contact lenses. (Id. at ¶ 31.)




{8165961:10 }                                   13
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 21 of 50 PageID #:10410




C.                   Becomes A Maui Jim Authorized Retailer In 2011

         32.                became an authorized retailer of Maui Jim in 2011 and commenced

supplying SmartBuyGlasses with Maui Jim eyewear immediately thereafter. (Ex. 11, 56:6-

57:23.) From that time forward,             was SmartBuyGlasses’ primary supplier of Maui Jim

sunglasses, though SmartBuyGlasses continued to source Maui Jim sunglasses from and through

other authorized retailers. (SBG0001866, attached hereto as Exhibit 48; Ex. 10, 97:3-98:4.)

                sourced Maui Jim sunglasses directly from Maui Jim as well as through other

authorized retailers of Maui Jim. (Ex. 11, 480:13-482:10.) Since 2011,             has provided

SmartBuyGlasses with              pairs of Maui Jim sunglasses SmartBuyGlasses has procured.

(Rossetto Exhibit 103, attached hereto as Exhibit 49; Ex. 10, 387:7-388:16.)

         33.                never showed SmartBuyGlasses its authorized retailer agreement with

Maui Jim. (Ex. 2 at ¶ 37.)                also never informed SmartBuyGlasses of any of the

contractual terms between Maui Jim and                (Ex. 11, 99:11-100:7; 102:9-17; Ex. 2 at ¶

37; Ex. 46, 199:6-19.)




{8165961:10 }                                  14
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 22 of 50 PageID #:10411




D.       Maui Jim Supports                     Supply of Eyewear to SmartBuyGlasses




         35.      As the          Sales Director,           was responsible for and led all aspects of

Maui Jim’s operations in           including orders, shipments, customer service, and repairs. (Ex. 7,

39:9-19.) He also had authority to direct the activities of all of the Maui Jim sales executives in

       (Id. at 77:7-10.)

         36.      One of                      first questions to                      was “Who is

SmartBuyGlasses?” (Ex. 2 at ¶ 39.)                       then explained                 business model

and relationship with SmartBuyGlasses and the need for as many pieces as they could sell to

                because of SmartBuyGlasses’ e-commerce demand. (Id.) At no time during this

meeting or any time before 2018 did anyone from Maui Jim ever tell                       that there was

any issue distributing Maui Jim product to SmartBuyGlasses. (Id.)

         37.      Following the                                    meeting in 2011,              called

                  to advise that he deleted all unfulfilled orders and requested that




{8165961:10 }                                       15
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 23 of 50 PageID #:10412




suspend purchasing for a few weeks because the initial fulfilled orders for SmartBuyGlasses

                                                                                    . (Ex. 2 at ¶ 40.)

         38.        In December 2011, Maui Jim restarted the supply of eyewear to                     but –

                                                                                              –

was not able to keep up with SmartBuyGlasses’ demand for Maui Jim eyewear through the

                . (Ex. 2 ¶ at 41.) Around that time,                    was introduced to                –a

Maui Jim sales representative in                            (Ex. 2 ¶ at 42.)            began supplying

                with Maui Jim sunglasses through

          . (Id.)

         39.                        placed                  in contact with Mr. Kalinko in approximately

2013, and                                     and Kalinko met at the MIDO trade show in 2013 and

discussed filling SmartBuyGlasses’ e-commerce orders. (Ex. 11, 70:15-72:23; 73:12-78:19; Ex. 2

at ¶ 43.)                     continued to supply                       with Maui Jim sunglasses for

SmartBuyGlasses until 2018, which coincides with                         termination by Maui Jim. (Ex. 2

at ¶ 42.)

         40.        In July 2015,                 hosted a meeting with                      and discussed

formalizing the relationship between Maui Jim and SmartBuyGlasses. (Ex. 2 at ¶ 44.) After this

meeting,                       provided                        with an e-commerce agreement between

SmartBuyGlasses and Maui Jim. (Ex. 2 at ¶ 44; Ex. 10, 284:8-11; SBG0588074, attached hereto

as Exhibit F to Ex. 1.)                      emailed the agreement to Mr. Rossetto, SmartBuyGlasses’

Vice President of Operations, and Mr. Kalinko, stating that he “[j]ust finished [t]he meeting with

Maui. [A]ttached [is] the proposal for Maui direct contract.” (Ex. F.)                      provided the e-

commerce agreement to                          (Ex. 2 at ¶ 43; Ex. 2 Exhibit B; SBG0647344, attached




{8165961:10 }                                          16
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 24 of 50 PageID #:10413




hereto as Exhibit G to Ex. 1; Ex. 46, 172:11-174:21.) Mr. Rossetto sent an email summarizing a

conversation he had with                 about the July 2015 meeting, noting that “Maui Jim has

approached us again to have a direct relationship.” (SBG0711943, attached hereto as Exhibit 50;

Ex. 10, 154:23-155:14.)

         41.    On September 22, 2015,                 met with               and Mr. Rossetto,

then SmartBuyGlasses’ Supply Manager, at                             warehouse. (Ex. 10, 16:15-

18:25; 20:2-24:17.) At the meeting, Mr. Rossetto checked the volumes of Maui Jim sunglasses to

make                  aware of the volumes SmartBuyGlasses required. (Ex. 10, 23:25-24:17.)

After the meeting, Mr. Rossetto sent an email summarizing the meeting, stating that “Maui Jim is

interested in working with us directly (contacted us 3 times in the last 3 weeks)” and “[w]e had

an open conversation, on high level they are aware of our volumes and how we sell them.”

(SBG0746980, attached hereto as Exhibit 51; Ex. 10, 166:15-168:16.)                        even

agreed in 2016 to open                                        to supply SmartBuyGlasses with

more volume of Maui Jim sunglasses. (Ex. 2 at ¶ 47.) The codes were opened in the name of

several of             brick and mortar locations. (Id.)

         42.    In 2016,                   , a                    representative, was given a

SmartBuyGlasses email address for a short time. (Ex. 2 at ¶ 50.)                         would

occasionally correspond with                        at her SmartBuyGlasses email address.

(SBG0655536, attached hereto as Exhibit J to Ex. 1; Ex. 46, 140:17-144:8.)




{8165961:10 }                                  17
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 25 of 50 PageID #:10414




         44.                      advised                 on multiple occasions that not only

         but also all of the Maui Jim organization in        were aware of              distribution

of the Maui Jim eyewear to SmartBuyGlasses. (Ex. 2 at ¶ 49.)                         had regular (at

least monthly) communications with                      and/or               between 2011 and 2018.

(Id. at 48.) Based on those communications,                      knew that both                  and

                were acutely aware that all but an extremely small percentage of that eyewear was

being sold by SmartBuyGlasses on its websites. (Id.) The cumulative                  purchases from

Maui Jim made it one of (if not the) largest distributors of Maui Jim eyewear in         (Id.) From

2011 through 2018,                 purchased approximately            of eyewear through its codes

with                    and                 through              codes, totaling approximately

         . (Id.) All of this Maui Jim eyewear, and all of the Maui Jim eyewear               sold to

SmartBuyGlasses, was 100% genuine and authentic. (Id. at ¶¶ 27-28; 37; 39-42; 47-49.)

                         III. SMARTBUYGLASSES’ SALES PROCESS

A.       The Customer Experience Through SmartBuyGlasses’ Website

         45.      SmartBuyGlasses sells into the United States through its website called

smartbuyglasses.com. (Ex. 1 at ¶ 8.) SmartBuyGlasses has spent many years and hundreds of

thousands of dollars investing in the sale of Maui Jim sunglasses. (Buffo Rebuttal Report Exhibit

C, attached hereto as Exhibit 53.) For example, SmartBuyGlasses spent                   in sales and

marketing expenses on Maui Jim from 2011 to 2015. (Id.)




{8165961:10 }                                     18
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 26 of 50 PageID #:10415




         47.    On itss website, Sm
                                  martBuyGlasses providees customerss with an exppress authennticity

guaranteee, telling cusstomers that:




(Kalinko Exhibit 100
                   0, attached hereto
                               h      as Exh
                                           hibit 54; Ex.. 11, 573:25--574:20 (redd arrow addeed).)




           -

(Id.; (red
         d arrow added).)

         48.    And, each page on SmartBuy
                                         yGlasses’ weebsite expresssly advises customers tthat it

has no afffiliation with the brandss it sells unleess stated othherwise:




(Kalinko Exhibit 91, attached herreto as Exhiibit 55; Ex. 111, 509:10-222.)


{8165961:10 }                                        19
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 27 of 50 PageID #:10416




         49.    In ad
                    ddition, Sm
                              martBuyGlassses providees its custoomers with a 100-dayy no-

questionss-asked return of unused
                                d eyewear in
                                           n original p ackaging foor full refundd or an exchhange

and a 24-month
      2        warranty for full replaccement againnst all mannufacturers’ defects wiithout

        n. (Ex. 10, 322:9-24; Ex. 11, 242:9-2
exception                                   22.)




(Kalinko Exhibit 92, attached herreto as Exhiibit 56; Ex. 111, 512:25-5513:23.)




(Kalinko Exhibit 93, attached herreto as Exhiibit 57; Ex. 111, 514:1-5115:15.)




{8165961:10 }                                    20
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 28 of 50 PageID #:10417




         50.    Maui Jim admits that the lan
                                           nguage on S
                                                     SmartBuyGllasses’ webssite clearly sstates

that the warranty
         w        is SmartBuyGlasses’ exclu
                                          usive warrannty and not the manufaccturer’s warrranty.

(Ex. 3, 184:1-5.) Maaui Jim also admits thatt SmartBuyG
                                                      Glasses guarrantees the aauthenticity of its

Maui Jim
       m products. (Ex. 3, 26
                            69:18-21.) And,
                                       A    Maui JJim admits



                            (Ex. 3,
                                 3 173:19-23
                                           3.)

         51.    Once a customer pulls
                                p     up a Maui
                                           M Jim speecific model on the webssite, the custtomer

is again advised
         a       that SmartBuyG
                              Glasses is nott affiliated w
                                                         with the brand itself:




(Kalinko Exhibit 90, attached herreto as Exhiibit 58; Ex. 111, 500:13-5504:2.)




{8165961:10 }                                    21
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 29 of 50 PageID #:10418




         52.    The cu
                     ustomer is also
                                a provided
                                         d different puurchase options:




(SBG0647154, attacched hereto as
                              a Exhibit C to Ex. 1.)

         53.    For th
                     he                    martBuyGlassses custom
                                       of Sm                    mers that chooose to buy pplano

Maui Jim
       m sunglassess, they choosse “Buy Now
                                          w” and see a final ordeer confirmatiion screen bbefore

going th
       hrough the checkout procedure
                           p         and
                                     a   providinng their naame, addresss and payyment

informatiion. (Ex. 1 at
                     a ¶ 9):




(MJ0000
      000865, attacched hereto as
                               a Exhibit 59.)
                                         5


{8165961:10 }                                 22
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 30 of 50 PageID #:10419




         54
          4.    For th
                     he      custtomer purch
                                           hasing a preescription addd-on to a M
                                                                               Maui Jim fr
                                                                                        frame,

SmartBu
      uyGlasses ex
                 xpressly discloses to custtomers at thee time of puurchase that tthey are seleecting

third-partty lenses frrom outside manufacturrers. (Ex. 1 at ¶ 9.) T
                                                                  The webpagge states undder a

capitalizeed header reeading PRE
                               ESCRIPTION
                                        N LENSES that the lennses are “Sm
                                                                        martBuyGllasses

Prescrip
       ptions” and note
                   n    that “A
                              All of our len
                                           nses come w
                                                     with” a varietty of featurees. (Id. (empphasis

added).):




(MJ00017074, attach
                  hed hereto ass Exhibit 60
                                          0.)

         55.       n customers click on the link to learn
                When                                   rn more abouut “our Prescription Lennses”,

they may
       y read extenssively about “prescriptio
                                            on lenses from
                                                         m premium lens produccer Essilor ass well

as [SmartBuyGlassess’] premium quality house brand”. (S
                                                      SBG06471551, attached hhereto as Exxhibit

D to Ex. 1.)




{8165961:10 }                                    23
    Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 31 of 50 PageID #:10420




          56.       If customers then click on thee “Prescriptiion Lenses G
                                                                          Guide” screeen, they are ttaken

to a screeen that show           us house braand and Essillor1 lenses ccustomers caan add-on to their
                     ws the variou

Maui Jim
       m frames:




(SBG0647153, attacched hereto as Exhibit E to Ex. 1.)) Further infformation iss contained uunder

detailed pages titled
                    d “Prescriptiion Lenses Guide,” “L
                                                     Lenses Guidee,” “Lensess Type,” “Lenses

       uide,” “Lenss Options,” “Prescription
Index Gu                       “           n Sunglassess,” “Our Priices,” and “S
                                                                               SmartBuyGllasses

Policies.”” (Id.)

          57.       Nowh
                       here in the pu
                                    urchase proccess does Sm
                                                           martBuyGlassses state thaat the prescriiption

lenses beeing purchaased are Maaui Jim presscription lennses. (Ex. 1 at ¶ 10.) And, Mauii Jim

concedess

                                                                                           And, inn fact,

SmartBu
      uyGlasses never did. (Ex. 1 at ¶ 11.)




1
    Essilor is a French-based manu
                                 ufacturer of high
                                              h    quality pprescriptionn lenses.


{8165961:10 }                                        24
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 32 of 50 PageID #:10421




B.       What
         W    SmartBuyGlassess’ Customerrs Receive

         58.    Upon delivery, th
                                he          of customers tthat orderedd plano Mauui Jim sungllasses

receive from
        fr   SmartB
                  BuyGlasses th
                              he original Maui
                                          M Jim suunglasses in ttheir originaal packagingg with

all of the original acccoutrement. (Ex. 1 at ¶ 12; see also E
                                                            Ex. 59.)

         59.    For th
                     hose few customers that ordered Mauui Jim sungllasses from S
                                                                                SmartBuyGllasses

with a prrescription add-on,
                     a       the customers
                                 c         reeceive the M
                                                        Maui Jim suunglasses witth the third--party

prescription lenses glazed
                    g      into the
                                t frames along
                                         a     with aall the originnal Maui Jim
                                                                              m packagingg, the

original accoutremen
         a         nt, and the original Maui Jim plano lenses in a sseparate envvelope alongg with

a lens caard explainin
                     ng the SmarrtBuyGlasses or Essilorr prescriptionn lenses. (E
                                                                                Ex. 1 at ¶ 133; see

also Declaration of Stephen
                    S           osenfeld, attached heretoo as Exhibitt 119 at ¶¶ 1-3, Exs. 1-3..)
                            J. Ro




         60.    If customers weree concerned that they re ceived thirdd party presccription lensees, or

had any other issuees with thee Maui Jim sunglasses they receiived from S
                                                                        SmartBuyGllasses

(includin
        ng that they simply chan
                               nged their mind
                                          m    about the purchasse), they were able to uutilize



{8165961:10 }                                     25
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 33 of 50 PageID #:10422




SmartBuyGlasses’ standard, 100-day “no questions asked” unlimited return policy. (Ex. 1 at ¶

14.)

         61.     Despite its allegations in the complaint, Maui Jim admits that



                                                                 . (Ex. 3, 274:4-10.)

C.       SmartBuyGlasses Customers Who Purchase Maui Jim Take Time On The Website




         64.     On average, SmartBuyGlasses customers visit its website       times over a period

of more than          before making a purchase. (Ex. 1 at ¶ 15.) Each of the      sessions typically

last more than        minutes and involves visits to approximately                pages. (Id.) Thus,

customers spend on average more than eight minutes of time studying the website pages per sale.

(Id.)

                  IV. THE OPTICAL INDUSTRY PRACTICE OF THIRD
                           PARTY PRESCRIPTION LENSES

         65.     Maui Jim admits that there is a common industry practice of glazing third party

prescription lenses into designer sunglass frames. (Ex. 3, 222:24-225:24; Ex. 18, 157:1-11; Ex. 5,

143:23-144:19; 145:9-22.)                   likewise attests that he is




{8165961:10 }                                   26
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 34 of 50 PageID #:10423




         66.    Indeed, while Maui Jim has a policy of not permitting its authorized retailers to

engage in the practice, it knows                                                                ,

                                                                           . (Ex. 18, 159:8-14;

MJ00002592, attached as Exhibit 62; MJ00019021, attached as Exhibit 63; MJ00019015,

attached as Exhibit 64; MJ00019023, attached as Exhibit 65; MJ00019142, attached as Exhibit

66; MJ00002379, attached as Exhibit 67; MJ00002139, attached as Exhibit 68.)

         67.    Maui Jim also admits that

                                                                                            (Ex.

7, 91:2-18; Ex. 31; Ex. 7, 89:8-92:12; Ex. 3, 137:8-12.)

         68.    In the designer goods industry, consumers often customize their purchases.

(Caniglia Report, attached as Exhibit 69, at ¶ 49.) In the watch context, this customization can

take the form of personal engravings or added product features, such as a unique watch band.




{8165961:10 }                                   27
    Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 35 of 50 PageID #:10424




(Id.) This customization does not render an authentic good inauthentic or counterfeit. (Id.) Here,

the prescription lens add-on is merely an option that consumers could exercise. (Id.) The

inclusion of a third-party add on lens does not render the Maui Jim product consumers purchased

counterfeit where, as here, the original plano lenses are included and SmartBuyGlasses clearly

disclosed the third-party nature of the prescription lenses. (Id.) This is no different than

purchasing a new car from a dealer and requesting custom wheels to be added. (Id.) That does

not mean the car itself is counterfeit or fake. (Id.)

         69.       Maui Jim’s own authorized retailers

                . (SBG0647526, attached hereto as Exhibit H to Ex. 1; Ex. 46, 103:23-109:24;

MJ00002631, attached hereto as Exhibit 70; MJ00002828, attached hereto as Exhibit 71; MJ-

INT00000652, attached hereto as Exhibit 72; Ex. 7, 202:5-206:23; MJ00002588, attached hereto

as Exhibit 73; Ex. 18, 151:21-155:14; Deposition of Lynn Campen, attached hereto as Exhibit

74, 163:6-164:14; Ex. 46, 101:6-15; Ex. 18, 158:15-24.) Maui Jim’s representatives have stated

that



          . (SBG0731124, attached hereto as Exhibit K to Ex. 1.) Accounts have also complained

that                                                                       . (SBG0647526, attached

hereto as Exhibit 75; Ex. 46, 103:23-109:24.) One of Maui Jim’s authorized retailers,

Zappos.com, has directed customers to non-Maui Jim prescription lens providers. (Ex. 18, 192:5-

195:6; Rhodes Exhibit 19, attached hereto as Exhibit 76.)

         70.       Maui Jim is and has been aware of the practice that

                                                    . (Ex. 75; Ex. 46, 103:23-109:24)



2
    Hoya is a Japan-based manufacturer of high quality prescription lenses.


{8165961:10 }                                      28
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 36 of 50 PageID #:10425




                   . (Id.)



                                                  . (Ex. 18, 159:5-14; Ex. 62; Ex. 63; Ex. 65; Ex.




         71.     Maui Jim does not terminate and has not terminated the more than

authorized retailers who

                . (Ex. 67.) And, based on a review of Maui Jim’s authorized retailer function from

its website,                                                                                 (Ex.

64.) Further, this document is clearly incomplete, as it does not list




                                     (Compare id. with Ex. 62.)




{8165961:10 }                                    29
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 37 of 50 PageID #:10426




         73.    Maui Jim’s authorized retailer agreements

                                . (Ex. 46, 31:5-9.) Nothing in Maui Jim’s authorized retailer

agreements



                                                                                     . (Ex. 46,

33:2-34:20; MJ00004293, attached hereto as Exhibit 77; Salmaso Exhibit 2, attached hereto as

Exhibit 118; Ex. 46, 27:25-30:3; MJ00004311, attached hereto as Exhibit 78; Ex. 46, 34:21-

36:4; Salmaso Exhibit 4, attached hereto as Exhibit 79; Ex. 2 at ¶ 51.) And, Maui Jim’s

European authorized retailer agreements

                                                                               . (MJ00016295,

attached hereto as Exhibit 80; Salmaso Exhibit 6, attached hereto as Exhibit 81; Ex. 46, 44:15-

45:18; Ex. 2 at ¶ 51.) Mr. Salmaso admitted that

                                                                                      (Ex. 46,

36:20-37:13.) And, Maui Jim has

                                                               (Ex. 46, 112:6-11; Ex. 8, 129:1-

4.)

                                 V. THE GRAY MARKET

         74.    Because SmartBuyGlasses sells Maui Jim sunglasses outside of Maui Jim’s

authorized channels, SmartBuyGlasses falls into the category of a “gray market” dealer. (Ex. 9,

116:5-7.)


{8165961:10 }                                  30
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 38 of 50 PageID #:10427




         75.    Gray market dealers sell goods outside a manufacturer’s authorized retail channel,

but that are in fact authentic. (Ex. 69 at ¶ 44.) In the eyewear industry, as in other industries, gray

marketing involves the distribution of genuine products outside the authorized distribution

channel via a ‘parallel’ channel. (Id. at ¶ 44, n. 70.) Gray market goods “are not counterfeit

goods. They are genuine goods that bear a legitimately registered trademark. They have ‘leaked’

out of the authorized channel of distribution and are offered for sale through an alternate

channel.” (Id., quoting GRAY MARKETS: A LEGAL REVIEW AND PUBLIC POLICY PERSPECTIVE, Vol.

9, p. 183 (1990) (183-194).)

         76.    In the context of retail and online sales, an authentic or genuine product is defined

as a product that was manufactured by the designer to whom it is attributed. (Id. at ¶ 42.) In the

context of retail and online sales, a counterfeit product is defined as a replica manufactured by a

third party that is designed to imitate the product it attempts to copy. (Id. at ¶ 43.)




         77.    Maui Jim representatives have repeatedly admitted that

                                                                                          (MJ00014992,

attached hereto as Exhibit 82.)




{8165961:10 }                                     31
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 39 of 50 PageID #:10428




         78.    The parallel or gray market is a generally accepted, widespread and encouraged

practice in the United States and globally. (Ex. 69 at ¶ 45.) It encompasses many consumer

goods, including clothing and accessories such as watches or glasses. (Id.) If such practices were

associated with counterfeit product, then companies like Amazon, Costco, Walmart, Sears and

other major retailers may not exist or would operate in entirely different ways. (Id.) In 1988, a

Harvard Business School review estimated that $7 to $10 billion dollars in gray market products

are sold in the U.S. each year. (Id.) This number is significantly higher today. (Id.)

         79.    In the optical industry, retailers, distributors and brand owners consider gray

market goods to be authentic and often support such sales in order to sell more products in the

market place. (Id. at ¶ 46; Ex. 2 at ¶ 37.) In fact, the gray market is a legal and integral part of the

global consumer products industry in general not only to increase total sales but also to assist in

evening inventory levels of products across markets and assisting in turning stock of lower-

selling products or products approaching the end of their life cycles. (Ex. 69 at ¶ 46.) Brand

owners, distributors, manufacturers, and retailers actively engage in this practice around the



{8165961:10 }                                     32
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 40 of 50 PageID #:10429




world. (IId.) Businessses sometim
                                mes attempt to limit grayy market saales and at oother times ttry to

maximize it, depend
                  ding on theiir overall bu
                                          usiness goalls in drivingg revenue annd economiies of

         d.)
scale. (Id

         80.     Maui Jim has not registered as having graay market prootection withh U.S. Custooms

       der Protection. (TMK 13-00435,
and Bord

https://iprs.cbp.gov/#
                     #/routeSearch
                                 hResults?seaarchText=M
                                                      Maui%20Jim (last visitedd June 28, 20019).)




(red arrow
         w added.) Trrademark ho
                               olders cannot get gray m
                                                      market protecction if “the m
                                                                                 merchandisee as

imported
       d is not physiically and materially
                                m          diff
                                             fferent…” 199 CFR § 1333.23.

                             VI. MAUI
                                 M    JIM’S
                                          S TEST PU
                                                  URCHASES
                                                         S

         81.     Maui Jim made itts test purchases of Mauui Jim sunglaasses from S
                                                                                 SmartBuyGllasses

between 2011 and 2016.
                 2     (Ex. 14;
                            1 Ex. 7, 116:20-118:221; Ex. 8, 101:1-106:222; Ex. 7, 116:18-

119:19; Ex.
        E 9, 31:3-3
                  35:19.)



            . (Ex. 9, 35
                       5:20-36:18.)




{8165961:10 }                                    33
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 41 of 50 PageID #:10430




(Ex. 8, 81:9-13; MJ00013907, attached hereto as Exhibit 88; MJ00013855, attached hereto as

Exhibit 89.)




         84.                   never determined that any of the sunglasses it purchased from

SmartBuyGlasses were counterfeit or in any way unauthentic. (Ex. 90, 47:13-23.)

did not perform any testing on the Maui Jim sunglasses it received from SmartBuyGlasses to

determine the authenticity of the product. (Id. at 46:19-24.)

         85.    And, as set forth in paragraphs 11 and 12 above, neither did Maui Jim.

                        VII. MAUI JIM’S CUSTOMER SERVICE

         86.




(Ex. 3, 89:24-90:4.)




{8165961:10 }                                    34
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 42 of 50 PageID #:10431




{8165961:10 }                          35
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 43 of 50 PageID #:10432




Indeed, Maui Jim has no evidence regarding the volume of calls it receives asking

                                              . (Id. at 118:21-119:5.)

         88.    However, Maui Jim customers have

                                                               . (MJ00001881, attached hereto as

Exhibit 92; Ex. 5, 60:7-63:10; Ex. 3, 100:17-101:18; MJ00001878, attached hereto as Exhibit

93; Ex. 5, 63:14-65:14.) Specifically, customers have asked

                        are                                                                . (Id.)

                                                    are all authorized retailers of Maui Jim. (Ex.

6, 28:5-9; Ex. 18, 119:9-17; 190:17-19.) In one particular instance,



                                  (Ex. 92; Ex. 5, 60:7-63:10; Ex. 3, 100:17-101:18.) In another

instance,

                                                     (Ex. 93; Ex. 5, 63:14-65:14.)

                   VIII. MAUI JIM’S POLICIES AND PROCEDURES

         89.    Maui Jim’s return policy provides for a 30-day return of eyewear in resalable

condition. (MJ00000651, attached hereto as Exhibit 94; MJ00000656, attached hereto as

Exhibit 95; Ex. 74, 80:2-82:14.) Maui Jim’s warranty policy provides that Maui Jim will replace

or repair, at its option, any sunglasses found to have a manufacturer’s defect. (MJ00015001,

attached hereto as Exhibit 96.)

                                                           (Ex. 74, 92:12-18.)

         90.

                                     . (Ex. 18, 26:24-27:9; 29:19-30:17.)




{8165961:10 }                                  36
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 44 of 50 PageID #:10433




         91.    Maui Jim’s authorized retailers place Maui Jim sunglasses out on display. (Id. at

31:19-32:4.) Prospective customers can pick up those sunglasses, try them on, and choose

whether or not to purchase those sunglasses. (Id. at 31:4-32:4; 45:12-16.)



                                              l. (Id. at 34:6-10.)




{8165961:10 }                                  37
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 45 of 50 PageID #:10434




{8165961:10 }                          38
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 46 of 50 PageID #:10435




                IX. MAUI JIM LIED ABOUT SMARTBUYGLASSES




{8165961:10 }                          39
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 47 of 50 PageID #:10436




         99.    And, as set forth above in paragraphs 84 and 85, Maui Jim has no evidence that

SmartBuyGlasses ever sold any counterfeit goods.

                  X. MAUI JIM’S TORTIOUS INTERFERENCE CLAIM

         100.   Neither Maui Jim nor any of Maui Jim’s authorized retailers ever informed

SmartBuyGlasses of their contractual terms. (Ex. 11, 96:19-21.) No representative of

SmartBuyGlasses ever saw any contract between Maui Jim and any authorized retailer before

this litigation commenced and no representative of SmartBuyGlasses ever saw any authorized

retailer’s contract other than the         contract produced in this litigation. (Id.)




{8165961:10 }                                 40
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 48 of 50 PageID #:10437




         102.   Moreover, Maui Jim has not even produced in this litigation the contracts for any

retailer from which SmartBuyGlasses procured product other than the                contracts with

Maui Jim. (Ex. 1 at ¶ 16.)




         104.   Further, with regard to              neither the 2011 agreement nor the 2017

agreement with Maui Jim provided:




                                                       (Ex. 2 at ¶ 51.)

                      XI. MAUI JIM’S COPYRIGHT COMPLAINT

         105.   Maui Jim has no evidence that SmartBuyGlasses used Maui Jim’s copyrighted

images aside from a visual comparison.




{8165961:10 }                                  41
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 49 of 50 PageID #:10438




         107.   Maui Jim has not established the licensing fee, if any, that it charges its retailers to

use its images. (Ex. 5, 243:19-244:8.)

         108.   Maui Jim has asserted copyright claims with respect to 22 photographs that, by

Maui Jim’s own admission, were taken between March 27, 2015 and October 22, 2015, but were

not registered until August 8, 2016. (Second Am. Compl., ECF No. 257, Exhibit K., p. 30-38.)

         109.   Moreover, SmartBuyGlasses has since 2011 had an express, written policy not to

use Maui Jim stock images. (SBG0001962, attached hereto as Exhibit I to Ex. 1.)

                       XII. MAUI JIM’S COUNTERFEIT THEORY




{8165961:10 }                                     42
 Case: 1:16-cv-09788 Document #: 438 Filed: 08/09/19 Page 50 of 50 PageID #:10439




                XIII. SMARTBUYGLASSES PROVIDES SALES FOR MAUI
                     JIM THAT IT MIGHT NOT OTHERWISE HAVE HAD

         111.    Maui Jim does not know whether any customer who bought an item from

SmartBuyGlasses would have brought equivalent items from Maui Jim at the price point Maui

Jim charges customers. (Ex. 5, 171:17-172:4.)




                   XIV. SMARTBUYGLASSES INVESTS IN MAUI JIM

         112.    SmartBuyGlasses invested in significant resources, time and effort in building up

its sales, marketing and operations including relationships with                and other Maui Jim

authorized retailers based on its understanding that Maui Jim did not object to SmartBuyGlasses’

sales of Maui Jim sunglasses. (Ex. 1 at ¶ 26.)

Dated: August 2, 2019                            Respectfully submitted,

                                                 SMARTBUY GURU ENTERPRISES, MOTION
                                                 GLOBAL    LTD.,  SMARTBUYGLASSES
                                                 SOCIETÁ A RESPONSABILITÁ LIMITATA,
                                                 SMARTBUYGLASSES OPTICAL LIMITED

                                                 By: /s/ Stephen J. Rosenfeld
                                                 One of their attorneys

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{8165961:10 }                                    43
